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                                FOR THE DISTRICT OF OREGON
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JENNIFER JOY FREYD,                                               Case No。 6:17-CV-00448‐ ⅣIC


                   Plaintift                                  NOTICE OF SUPPLEⅣ IENTAL
                                                                            AUTHORITY
                   VS.


UNIVERSITY OF OREGON,Ⅳ IICHAEL
HoSCHILL and HAL SADOFSKY,
                   Defendants.


         On Fcbruary 25,2019,thc l」 nited States Supreme Courtissucd an ordcrin RJzο    ν. 1lθ ν,″ θ
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a recent Ninth Circuit, Equal Pay Act case that Plaintiff cited in her opposition to surnlnary

judgment.■ )ν ttο ソRル 0,586U.S,__,No.18-227(Fcb.25,2019).The Opinion cited by


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Plaintifl   an en banc opinion written by Judge Reinhardt shortly before his death, was vacated on

the grounds that the opinion was published after Judge Reinhard's death. The U.S. Supreme Court

found that Judge Reinhardt's death rendered his vote               in favor of his own opinion, prior to

publication, moot. It remanded the case back to the Ninth Circuit. Id. The Ninth Circuit opinion

was correctly decided and is unlikely to change significantly on reconsideration, as explained

below.

         The en banc courtin Rizo s Ninth Circuit opinion consisted of eleven judges. Six, including

Judge Reinhardt, voted in favor of Judge Reinhard's opinion. The remaining five all concurred in

the judgment, but wrote separately        to express differences with varying specifics of the opinion.

None of the eleven voted against the judgment or wrote a dissent.

         Ninth Circuit practice is to assign a case remanded from the Supreme Court back to the

panel that previously heard   it.   See   Ninth Circuit Rules of Appellate Procedure, "Court Structure

and Processes" section (EX4), p.     xviii   (http:/icdn.cag.uscourts.gov/datastore/uploads/rulesifrap.pdO.


If that rule applies such that the remaining ten will re-hear the case, joined by a new eleventh, this

Court can expect the resulting judgment to be the same.

         All ten of the prior panel agreed on the opinion's ultimate judgment, finding that prior

salary alone is not a "factor other than sex" under the Equal Pay Act. Even those who concurred

in the judgment, without joining the majority opinion, pointed out that continuing pay disparities

between men and women in virtually every sector of the economy make                   it "highly likely that a

woman's past pay will reflect, at least in part, some form of sex discrimination." See Rizo,887

F.3d at 478 (Judge Watford concurring in the judgment); see also 887 F.3d at 470 (concurrence of

Judges McKeown and Murgia) (noting that the gender wage gap persists and can reflect the very

discrimination Congress sought to eradicate in the statute).




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            Two holdings of the en banc opiruon hold particular relevance for this case, and those

holdings are unlikely to be changed by the Ninth Circuit's reconsideration. They both enjoy strong

support in the language and history of the statute, in prior precedent, and in holdings from other

circuits.

            The first pertinent holding is that any defense under the "catchall" exception to the Equal

Pay Act must be job-related (as distinguished from business-related). The opinion shows that basic

principles of statutory interpretation require this conclusion. It elucidates the legislative history of

the exception, showing that Congress intended that it apply only to factors that were job related.           It

notes that the Eleventh Circuit has long held that the "factor other than sex" exception only applies

when the disparity results from job-related factors like the unique characteristics of the job or other

job-related reasons. Citing Glenn v. Gen. Motors Corp.,841 F.2d           l57,17l (l lth Cir.   1988) and

cases at 887     F.3d 465 n.15. Only one of the five Judges concurring in the opinion expressed any

disagreement with the holding that any asserted catchall defense must be job-related. For all of

these reasons, the Ninth Circuit was correct to so hold, and this Court should hold the same.

            The second pertinent holding is the opinion's rejection of business rationales such as the

"market forces theory"       -   the idea that paying men more than women for the same work                  is


permissible because men command more in the extemal market. That notion was soundly rejected

in Corning Glass Worl<s v. Brennan, 417 U.S. 188, 195 (1974), as the en banc opinion explains.

Variations on the same theme have also been discredited in Riser v. QEP Energy,776              F   .3d   ll9l,
1199 (lOth      Cir.20l5); Drumv.    Leeson Elec. Corp.,565 F.3d 1071, 1073 (8th      Cir.2009);Siler-

Khodr v. (Jniversity of Texas Health Science Center San Antonio, 261 F.3d 542, 549 (5th Cir.

2001) ("[T]he University's market forces argument is not tenable and simply perpetuates the

discrimination that Congress wanted to alleviate when           it   enacted the EPA."); Glenn, supra;




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Marshall v. Georgia    Sw.   Coll., 489 F. Supp. 1322,l33O (M.D. Ga. 1980), affd and remanded in

part sub nom. Brock v. Georgia      Sw.   Coll.,765 F.2d 1026   (llth   Cir. 1985) (holding that the fact

that "each professor or instructor was paid what he or she was worth in the market place of higher

education. . . . is not the kind of factor included within the catchall exception in the Act, especially

when it appears that females have been willing to accept lower salaries than males") and others.

         The UO's argument     - that because men receive large offers on the external market, the
University is justified in paying them more than women           -   is simply another version of     the


prohibited "market forces" theory and should be rejected. Plaintiff has shown that such offers are

less available to women and that the University responds to women's offers differently, reinforcing

and amplifying the existing gender wage gap in the academic market. At best, the University's

defense is a business strategy that takes advantage       of existing market forces that favor      men,


prohibited under the Equal Pay Act.

         In short, the en banc panel's holdings in Rizo v. Yovino rest on sound legal bases and should

be adopted by this Court. The Ninth Circuit's reconsideration of the case, which should include




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ofthe opinion.

         Rcspectfully subllnittcd this l lth day of March,2019.



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